Case 3:23-cv-00825-JFS Document 10 Filed 06/16/23 Page 1 of 2
Case 3:23-cv-00825-JFS Document9 Filed 06/15/23 Page 1 of3

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

DAVID MUNIZ AND CATHY MUNIZ,

Plaintiffs,
V.
SILVIA VITIELLO AND AIR BNB,

Defendants.

 

 

Civil Action No. 3:23-cv-00825-JFS

  

WV or

STIPULATION TO EXTEND DEFENDANT AIRBNB, INC.’S TIME TO RESP ND TO
PLAINTIFFS’ COMPLAINT

Defendant Airbnb, Inc. (“Airbnb”) and Plaintiffs David Muniz and Cathy Muniz

(collectively, the “Parties”), by and through their attorneys of record, enter this Stipulation based

on the following facts and circumstances:

WHEREAS, Plaintiff filed this action in the Court of Common Pleas, Monroe County on

April 5, 2023.

WHEREAS, Airbnb ‘was served with the Complaint on April 18, 2023.

WHEREAS, Airbnb filed its Notice of Removal in this Court on May 18, 2023.

WHEREAS, Airbnb’s response to the Complaint is currently due on June 26, 2023.

WHEREAS, the extension is warranted so that the Parties may confer in an attempt to .

resolve and/or narrow the issues so as to promote an efficient resolution of this matter.

THEREFORE, the Parties stipulate and agree that the time within which Airbnb may

answer, object to, or otherwise respond to Plaintiffs’ Complaint is extended up through and

including July 26, 2023.
Case 3:23-cv-00825-JFS Document 10 Filed 06/16/23 Page 2 of 2
Case 3:23-cv-00825-JFS Document9 Filed 06/15/23 Page 2 of 3.

By://Christina Manfredi McKinley
Christina Manfredi McKinley, Esq.
PA ID: 320002

Casey Allan Coyle.

PA ID: 307712

BABST, CALLAND CLEMENTS AND
ZOMNIR P.C.

Two Gateway Center

603 Stanwix Street

Pittsburgh, PA 15222
412-394-5400
cmckinley@babstcalland.com

Attorneys for Defendant
AIRBNB, INC.

Dated: June 15, 2023

By:4s/John E. Lavelle

John E. Lavelle, Esq.

PA Bar ID: 315154

JOHN E. LAVELLE LAW FIRM P. C.
630 Willis Avenue

Williston Park, New York 11596
(877) 465-5997
John.Lavelle@LavelleInjuryFirm.com

Attorney for Plaintiffs
David Muniz and Cathy Muniz

Dated: June 15, 2023

APPROVED AND SO ORDERED:

er

A fe haere Me2 SP

HE HONORABLEAOSEPH F. SAPORITO, JR

UNITED STATES MAGISTRATE JUDGE
